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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 MAYNE PHARMA INTERNATIONAL PTY      )
 LTD.,                               )
                                     )
           Plaintiff,                )
                                     )
     v.                              )                  C.A. No. 15-438-LPS-CJB
                                     )
 MERCK & CO., INC. and MERCK SHARP & )                  JURY TRIAL DEMANDED
 DOHME CORP.,                        )
                                     )
            Defendants.              )

                             SECOND AMENDED COMPLAINT

       Plaintiff Mayne Pharma International Pty Ltd. (“Plaintiff” or “Mayne”), by its

undersigned attorneys, for its Complaint herein against Defendants Merck & Co., Inc. and Merck

Sharp & Dohme Corp. (collectively “Defendants” or “Merck”) alleges upon knowledge with

respect to its own acts, and upon information and belief as to other matters, as follows:

                                         THE PARTIES

       1.      Plaintiff Mayne Pharma International Pty Ltd. is organized and existing under the

laws of Australia having a principal place of business at 1538 Main North Road, Salisbury

South, South Australia 5106. Mayne is in the business of, among other things, selling

pharmaceutical drug products.

       2.      Upon information and belief, Defendant Merck & Co., Inc. is a corporation

organized and existing under the laws of Delaware (see Exhibit G) and has its principal place of

business at 2000 Galloping Hill Road, Kenilworth, New Jersey 07033. Upon further

information and belief, Merck & Co., Inc. holds itself out as being organized and existing under

the laws of the State of New Jersey.

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          3.    Upon information and belief, Defendant Merck Sharp & Dohme Corp. is a

corporation organized and existing under the laws of the State of New Jersey, having a principal

place of business at 2000 Galloping Hill Road, Kenilworth, New Jersey 07033.

          4.    Upon further information and belief, Merck Sharp & Dohme Corp. is a wholly-

owned subsidiary of Defendant Merck & Co., Inc.

                                  NATURE OF THE ACTION

          5.    This action arises under the patent laws of the United States, 35 U.S.C. §§ 101,

et seq.

                                 JURISDICTION AND VENUE

          6.    This Court has subject matter jurisdiction over the claims asserted herein pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

          7.    This Court has personal jurisdiction over Defendants because, among other

things, upon information and belief, Defendants regularly transact business within this judicial

district, including sales of the infringing product in Delaware, and have committed acts of

patent infringement within this judicial district.

          8.    On information and belief, Defendants are registered with the Delaware

Department of State to transact business in Delaware, have a registered agent in Delaware, and

have therefore consented to general personal jurisdiction in the State of Delaware and this

judicial district.

          9.    On information and belief, Defendants have previously availed themselves of the

United States District Court for the District of Delaware and submitted to the jurisdiction of this

Court. See, e.g., Intervet Inc. and Merck & Co., Inc. v. E.I. DuPont De Nemours and Co., C.A.

No. 15-607 (D. Del. Jul. 7, 2015); Merck Sharp & Dohme Corp. v. Amneal Pharmaceuticals

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LLC, C.A. No. 15-250 (D. Del. Mar. 20, 2015); Bristol-Myers Squibb Co. v. Merck & Co., Inc.

and Merck Sharp & Dohme Corp., C.A. No. 14-1131 (D. Del. Sep. 5, 2014).

       10.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c)

and 1400(b).

                                           BACKGROUND

       11.     United States Patent No. 6,881,745 (“the ‘745 patent”), entitled “Pharmaceutical

Compositions for Poorly Soluble Drugs,” was duly and lawfully issued by the United States

Patent and Trademark Office on April 18, 2005. A copy of the ‘745 patent, which is valid and

enforceable, is attached hereto as Exhibit A.

       12.     Mayne is the assignee of the ‘745 patent.

       13.     The inventors of the ‘745 patent are David Hayes and Angelo Mario Morella.

       14.     Merck markets delayed-release posaconazole tablets, 100 mg, in the United States

under the tradename Noxafil® (“Merck’s Noxafil® Tablets”).

       15.     Merck Sharp & Dohme Corp. owns New Drug Application No. 205053 (the

“NDA”) for Noxafil (posaconazole) delayed-release tablets, 100 mg, which was first approved

by the United States Food and Drug Administration (“FDA”) on November 25, 2013.

       16.     According to the drug label, Merck’s Noxafil® Tablets are “[manufactured] for:

Merck Sharp & Dohme Corp., a subsidiary of Merck & Co., Inc., Whitehouse Station, NJ

08889, USA.” A copy of the drug label for Merck’s Noxafil® Tablets is attached hereto as

Exhibit B.

       17.     Employees of Merck Sharp & Dohme Corp. have email addresses having a

“@merck.com” domain name, which, upon information and belief, is a Merck & Co., Inc.

domain name. A notice stating that “[t]his email message, together with any attachments,

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contains information of Merck & Co., Inc. (One Merck Drive, Whitehouse Station, New Jersey,

USA 08889), and/or its affiliates” appears in email correspondence between Merck and FDA

regarding the approval of the NDA, including on email correspondence that is ostensibly from

employees of Merck Sharp & Dohme Corp.

      18.     In public speaking engagements and presentations, Merck & Co., Inc. has

described Noxafil® as a key antifungal product in its acute care franchise.

      19.     In quarterly and annual filings with the United States Securities and Exchange

Commission, Merck & Co., Inc. has described Noxafil® as a pharmaceutical product in its acute

care franchise and further reported sales of Noxafil, including sales made within the United

States.

      20.     On information and belief, Merck & Co., Inc. and Merck Sharp & Dohme Corp.

share a common website with domain name “www.merck.com” on which its Noxafil® Tablets

are advertised and information about the Noxafil® Tablets is provided to the public.

      21.     According to the drug label for Merck’s Noxafil® Tablets, “Noxafil is an azole

antifungal agent available as concentrated solution to be diluted before intravenous

administration, delayed-release tablet or suspension for oral administration.” (Ex. B at 20.) The

drug label also identifies posaconazole as the active pharmaceutical ingredient in Merck’s

Noxafil® Tablets and states that “posaconazole is an azole antifungal agent.” (Id. at 20-21.)

      22.     The drug label for Merck’s Noxafil® Tablets states that “[e]ach delayed-release

tablet contains the inactive ingredients: hypromellose acetate succinate, microcrystalline

cellulose, hydroxypropylcellulose, silicon dioxide, croscarmellose sodium, magnesium stearate,

and Opadry® II Yellow (consists of the following ingredients: polyvinyl alcohol partially




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hydrolyzed, Macrogol/PEG 3350, titanium dioxide, talc, and iron oxide yellow).” (See Ex. B at

20-21.)

      23.     The drug label for Merck’s Noxafil® Tablets reports pharmacokinetic parameters

for Merck’s Noxafil® Tablets, including for example, AUC (“area under the plasma

concentration-time curve from time zero to 24 hr”) and Cmax (“maximum observed

concentration”) under fasting conditions. (See Ex. B at 22-23.) The drug label for Merck’s

Noxafil® Tablets further states that “Noxafil delayed-release tablets exhibit dose proportional

pharmacokinetics after single and multiple dosing up to 300 mg.” (See Ex.t B at 22.)

      24.     According to dosing information contained in the drug label, the “loading dose”

for Merck’s Noxafil® Tablets is “300 mg (three 100 mg delayed-release tablets) twice a day on

the first day.” (See Ex. B at 5.) The “maintenance dose” for Merck’s Noxafil® Tablets is

“300 mg (three 100 mg delayed-release tablets) once a day, starting on the second day.” (Id.)

      25.     The drug label, as revised in November 2015, identifies N.V. Organon as the

manufacturer Merck’s Noxafil® Tablets. (See Ex. B at 33.) The drug label, as of

November 2013, also identified N.V. Organon as the manufacturer Merck’s Noxafil® Tablets.

A copy of the November 2013 drug label is attached hereto as Exhibit C.

      26.     Upon information and belief, Merck Sharp and Dohme Corp. has received and

continues to receive shipments into the United States of Merck’s Noxafil® Tablets that have

been manufactured by N.V. Organon.

      27.     After a reasonable opportunity for further investigation or discovery, there will

likely be evidentiary support that Merck & Co., Inc., alone or by and through an agent or alter

ego, including, without limitation, Merck Sharp & Dohme Corp., has received and continues to




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receive shipments into the United States of Merck’s Noxafil® Tablets that have been

manufactured by N.V. Organon.

      28.     Upon information and belief, Merck Sharp and Dohme Corp. currently makes,

uses, sells, offer for sale or imports Merck’s Noxafil® Tablets in the United States.

      29.     After a reasonable opportunity for further investigation or discovery, there will

likely be evidentiary support that Merck & Co., Inc., alone or by and through an agent or alter

ego, including, without limitation, Merck Sharp & Dohme Corp., makes, uses, sells, offer for

sale or imports Merck’s Noxafil® Tablets in the United States.

      30.     Upon information and belief, Schering-Plough Corporation was renamed

Merck & Co., Inc. in or around November 2009.

      31.     Upon information and belief, Merck & Co., Inc. (formerly Schering-Plough

Corporation) filed U.S. Patent Application No. 12/937,881 (“the ‘881 patent application”) on

October 14, 2010, which was filed as a U.S. national phase application of International Patent

Application No. PCT/US2009/040653, which was filed on April 15, 2009. A copy of the ‘881

patent application is attached hereto as Exhibit D.

      32.     Upon information and belief, Merck & Co., Inc. (formerly Schering-Plough

Corporation) filed U.S. Patent Application No. 12/999,547 (“the ‘547 patent application”) on

December 16, 2010, which was filed as a U.S. national phase application of International Patent

Application No. PCT/US2009/040652, which was filed on April 15, 2009. A copy of the ‘547

patent application is attached hereto as Exhibit E.

      33.     Upon information and belief, attorneys representing Merck & Co., Inc. actively

participated in the ‘881 and ‘547 patent applications.




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      34.     The “Background of the Invention” portions of each of the specifications of the

‘881 and ‘547 patent applications state that “U.S. Patent No. 6,881,745 (the ‘745 patent) issued

April 19, 2005 to Hayes et al., generally describes compositions comprising an azole antifungal

compound and a polymer.” (See, e.g., Ex. D at ¶ 0008.)

      35.     Merck & Co., Inc. also identified the ‘745 patent to the United States Patent and

Trademark Office (“PTO”) in an Information Disclosure Statement (“IDS”) that it submitted in

connection with the prosecution of the ‘881 and ‘547 patent applications.

      36.     In a December 4, 2012 Office Action, the PTO rejected pending claim 1 of the

‘881 patent application “under 35 U.S.C. 102(b) as being anticipated by Hayes et al.

(US 6,881,745, IDS)” and stated that “Hayes et al. teach a pharmaceutical composition of a

practically insoluble drug, such as, itraconazole, wherein the drug is dispersed in a polymeric

carrier having acidic function, particularly, hydroxypropyl methylcellulose acetate succinate.”

      37.     Thus, the named inventors of the ‘881 and ‘547 patent applications had

knowledge of the ‘745 patent.

      38.     Table I of the ‘547 patent application presents, for example, a “Comparison of PK

Parameters Observed After Administering 100 mg Dose of Posacaonazole,” including

pharmacokinetic parameters under “fasted” conditions for tablets “prepared from a composition

of the invention comprising hydroxypropylmethylcellulose acetate succinate (HPMC-AS,

M grade) and posaconazole free base.” (See Ex. E at ¶ 0045, Table 1.)

      39.     At least certain of the named inventors of the ‘547 patent application, including,

for example, Gopal Krishna, contributed to the development of Merck’s Noxafil® Tablets,

conducted clinical studies on Merck’s Noxafil® Tablets and/or had knowledge of the

formulation and pharmacokinetic profile of Merck’s Noxafil® Tablets. See, e.g., Krishna et al.,

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“Single-Dose Phase I Study to Evaluate the Pharmacokinetics of Posaconazole in New Table

and Capsule Formulations Relative to Oral Suspension,” Antimicrobial Agents and

Chemotherapy, August 2012, 56:8 p. 4196-4201.

      40.       The drug label for Merck’s Noxafil® Tablets (Ex. B at 20-21) and the ‘547 patent

application (Ex. E at ¶ 0045, Table I) describe a tablet containing that azole antifungal drug

posaconazole and the polymer having acidic functional groups hypromellose acetate succinate.

      41.       On or around August 30, 2012, the ‘881 and ‘547 patent applications were

assigned to Merck Sharp & Dohme Corp.

      42.       Based on the disclosures and/or the prosecution of the ‘881 and ‘547 patent

applications, Merck & Co., Inc. had knowledge of the ‘745 patent and its relevance to Merck’s

posaconazole tablet product at least as early as October 14, 2010.

      43.       Based on the disclosures and/or the prosecution of the ‘881 and ‘547 patent

applications, Merck Sharp & Dohme had knowledge of the ‘745 patent and its relevance to

Merck’s posaconazole tablet product at least as early as August 30, 2012.

      44.       Based on at least the disclosures and/or prosecution of the ‘547 and ‘881 patent

applications, Defendants knew or should have known that Merck’s Noxafil® Tablets would

practice each element of one or more claims of the ‘745 patent.

      45.       Furthermore, the disclosures and/or prosecution of the ‘547 and ‘881 patent

applications created an objectively high likelihood that Defendants’ actions constituted

infringement.

      46.       Upon information and belief, named inventor Gopal Krishna was an employee of

Merck Sharp & Dohme Corp.




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      47.      Upon information and belief, Merck Sharp & Dohme Corp. funded the “Single-

Dose Phase I Study to Evaluate the Pharmacokinetics of Posaconazole in New Table and

Capsule Formulations Relative to Oral Suspension.”

      48.      After a reasonable opportunity for further investigation or discovery, there will

likely be additional evidentiary support that Merck Sharp & Dohme Corp. had knowledge of the

‘745 patent and its relevance to Merck’s Noxafil® Tablets.

      49.      After a reasonable opportunity for further investigation or discovery, there will

likely be additional evidentiary support that Merck Sharp & Dohme Corp. knew or should have

known that Merck’s Noxafil® Tablets would practice one or more claims of the ‘745 patent

application.

      50.      Mayne has had discussions about Merck’s alleged infringement of the ‘745 patent

with representatives of Merck that identify themselves as being affiliated with “Merck,” “Merck

Research Laboratories” and/or “Merck & Co., Inc.”

      51.      Upon information and belief, representatives of Merck & Co., Inc. have been

intimately involved in discussions regarding Merck’s Noxafil® Tablets and the ‘745 patent,

which further demonstrates that Merck & Co., Inc. and Merck Sharp and Dohme Corp. are

intertwined with respect to at least Merck’s Noxafil® Tablets.

      52.      On August 15, 2014, Mayne sent a letter to Merck regarding the ‘745 patent and

Merck’s Noxafil® Tablets.

      53.      Mayne’s August 15, 2014 letter stated that Mayne owns the ‘745 patent.

      54.      Mayne’s August 15, 2014 letter stated expressly that Mayne considered Merck’s

Noxafil® Tablets relevant to the ‘745 patent.




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       55.     By letter dated September 11, 2014, Merck responded to Mayne’s

August 15, 2014 letter and acknowledged the ‘745 patent.

       56.     On or about September 30, 2014, representatives of Mayne and Merck had

discussions regarding the alleged infringement of the ‘745 patent by Merck’s Noxafil® Tablets.

       57.     In October 2014, representatives of Mayne and Merck had further discussions

regarding the alleged infringement of the ‘745 patent by Merck’s Noxafil® Tablets.

       58.     On November 19, 2014, Mayne sent a letter to Merck notifying Merck of the

alleged infringement of the ‘745 patent by Merck’s Noxafil® Tablets.

       59.     In December 2014, representatives of Mayne and Merck corresponded about

Merck’s alleged infringement of the ‘745 patent.

       60.     On May 28, 2015, counsel for Mayne and Merck had a telephone discussion

regarding Merck’s alleged infringement of the ‘745 patent.

       61.     Upon information and belief, based on at least Mayne’s August 15, 2014 and

November 19, 2014 letters, Merck has decided to make, use, offer for sale, sell or import

Merck’s Noxafil® products despite knowing that Merck’s Noxafil® Tablets infringe at least one

claim of the ‘745 patent.

       62.     Furthermore, Mayne’s August 15, 2014 and November 19, 2014 letters created an

objectively high likelihood that Merck’s actions constituted infringement.

                               COUNT ONE
             INFRINGEMENT OF UNITED STATES PATENT NO. 6,881,745

       63.     Mayne incorporates each of the preceding paragraphs of this Complaint as if fully

set forth herein.

       64.     In violation of 35 U.S.C. § 271(a), Defendants have infringed and continue to

infringe the ‘745 patent by making, using, offering for sale or selling within the United States
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and/or importing into the United States products that infringe one or more claims of the

‘745 patent, including but not limited Merck’s Noxafil® Tablets.

      65.      Merck’s Noxafil® Tablets practice each and every limitation of at least one or

more claims of the ‘745 patent because, according to the drug label, Merck’s Noxafil® Tablets:

(1) contain 100 mg of posaconazole; (2) contain at least one polymer having acidic functional

groups, including but not limited to hypromellose acetate succinate; and (3) provide a

pharmacokinetic profile that satisfies the recited Cmax and AUC thresholds. An exemplary

infringement chart is attached hereto as Exhibit F.

      66.      Upon information and belief, Defendants have been aware of the ‘745 patent

since at least October 14, 2010 when Merck & Co., Inc. cited the ‘745 patent in the ‘881 patent

application.

      67.      Upon information and belief, Defendants have known or should have known that

Merck’s Noxafil® Tablets practice at least one claim of the ‘745 patent since at least as early as

December 16, 2010 when Merck & Co., Inc. cited the ‘745 patent in the ‘547 patent application,

and, in no event, later than August 15, 2014 when Mayne sent Merck a letter regarding the ‘745

patent and Merck’s Noxafil® Tablets.

      68.      Defendants’ continued manufacture, importation, use, offers to sell, and/or selling

of Merck’s Noxafil® Tablets, despite its knowledge of the ‘745 patent, constitutes at least

reckless disregard of the ‘745 patent. As a result, Defendants’ infringement after becoming

aware of the ‘745 patent has been willful.

      69.      Plaintiff has suffered and will continue to suffer damages and irreparable injuries

unless Defendants’ infringement of the ‘745 patent is enjoined.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in its favor

and against Defendants and grant the following relief:

       A.      A judgment that Defendants have infringed and are infringing the ‘745 patent

directly in violation of 35 U.S.C. § 271;

       B.      A judgment that Defendants’ infringement of the ‘745 patent has been willful;

       C.      An order, pursuant to 35 U.S.C. § 283, enjoining Defendants and all persons in

active concert or participation with Defendants from any further infringement of the ‘745 patent;

       D.      An order, pursuant to 35 U.S.C. § 284, awarding Plaintiff damages adequate to

compensate for Defendants’ infringement of the ‘745 patent;

       E.      An order, pursuant to 28 U.S.C. § 1961 and 35 U.S.C. § 284, awarding to Plaintiff

interest on the damages and its costs incurred from this action;

       F.      An order, pursuant to 35 U.S.C. § 284, trebling all damages awarded to Plaintiff

based on Defendants’ willful infringement of the ‘745 patent;

       G.      A declaration that this case is exceptional and an award of Plaintiff’s reasonable

attorneys’ fees and costs in bringing its claims, pursuant to 35 U.S.C. § 285;

       H.      An order directing Defendants to recall from distribution and destroy its entire

stock of infringing products within the United States; and

       I.      Such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       In accordance with Fed. R. Civ. P. 38 and 39, Plaintiff assert its rights under the

Seventh Amendment to the United States Constitution and demands a trial by jury on all issues

that may be so tried.

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                                       Respectfully submitted,

                                       /s/ David M. Fry
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Dated: February 22, 2016               Mayne Pharma International Pty Ltd.




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